                Case 2:05-cr-00231-JCC         Document 1154       Filed 02/16/07     Page 1 of 1



 1                UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
 2
 3      UNITED STATES OF AMERICA,
 4                                                                Case No. CR05-231JCC
                                 Plaintiff,
 5                                                                INITIAL ORDER RE:
                          v.                                      ALLEGATIONS OF
 6                                                                VIOLATION OF
        ROBIN WADE HUNDAHL,                                       CONDITIONS OF
 7                                                                SUPERVISION
                                 Defendant.
 8
 9          THIS MATTER comes on for an initial hearing on the Petition of the United States Probation
10   Office alleging that the defendant has violated the conditions of supervision.

11              The plaintiff appears through Assistant United States Attorney, MIKE DION

12              The defendant appears personally and represented by counsel, RUSSELL LEONARD.

13              The U.S. Probation Office has filed a petition alleging violations of the terms and conditions of
                supervision, and the defendant has been advised of the allegation(s).
14           The court finds probable cause with regard to the allegation(s) and schedules a hearing on the
15          petition to be held at the time and date below set forth before Judge JOHN C COUGHENOUR:

16                             Date of hearing:     MARCH 2, 2007

17                             Time of hearing:     9:45 A.M.

18              IT IS ORDERED that the defendant:

19              ( ) Be released on an appearance bond, subject to the terms and conditions set forth thereon.

20              (X) Be detained for failing to show that he/she will not flee or pose a danger to any other
                person or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be delivered as ordered
21              by the court for further proceedings. DEFENDANT DID NOT OBJECT TO BEING
                DETAINED AT THIS TIME. HIS STAND-IN ATTORNEY NOTED THAT CJA COUNSEL
22              ROBERT GOLDSMITH WILL BE ASKING FOR A BAIL REVIEW HEARING IN
                SEATTLE EARLY NEXT WEEK. COURT ENTERS THIS DETENTION ORDER
23              WITHOUT PREJUDICE.

24           The clerks shall direct copies of this order to counsel for the United States, to counsel for the
     defendant, the United States Marshal and to the United States Probation Office and/or Pretrial Services
25   Office.

26                                                          February 16, 2007.

27                                                          __s/ Karen L. Strombom________________
28                                                          Karen L. Strombom, U.S. Magistrate Judge


     ORDER
     Page - 1
